                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
        v.                                          )              NO. 3:10-00262
                                                    )              JUDGE TRAUGER
                                                    )
ROBERT KERRY PICKLE                                 )


                               AGREED ORDER OF RESTITUTION

        COMES now the parties in the above captioned matter, by and through Assistant United States

Attorney Philip H. Wehby, and Dumaka Shabazz, attorney for the defendant, as evidenced by signatures

below, hereby agree that the restitution amount owed in this matter is $8,263.00, payable to First State

Bank, 117 Raymond Hirsh Parkway, White House, Tennessee. The parties further agree that the

defendant is jointly and severally liable for the stated amount.

        It is so ORDERED.

                                                  ____________________________________
                                                  ALETA A. TRAUGER
                                                  UNITED STATES DISTRICT JUDGE


APPROVED FOR ENTRY:

s/ Philip H. Wehby
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PHILIP H. WEHBY
Assistant United States Attorney


s/ Dumaka Shabazz
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DUMAKA SHABAZZ
Attorney for the Defendant

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